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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF INDIANA
                              INDIANAPOLIS DIVISION


    In Re: COOK MEDICAL, INC., IVC                )
    FILTERS MARKETING, SALES                      )      1:14-ml-02570-RLY-TAB
    PRACTICES AND PRODUCT                         )      MDL No. 2570
    LIABILITY LITIGATION                          )
    ___________________________________           )

    This Document Relates to:
    Jamieca Brown, 1:18-cv-3082
    ____________________________________


    ORDER DENYING PLAINTIFF'S RULE 60 MOTION FOR RELIEF FROM
                       FINAL JUDGMENT

        On March 26, 2021, the Cook Defendants1 moved to dismiss 18 cases in which the

Plaintiffs' complaints failed to identify the product they alleged caused their injuries. On

June 29, 2021, the court dismissed the cases of 13 Plaintiffs, including Plaintiff Jamieca

Brown, who failed to respond to the motion. (Filing No. 19238, Order on Def.'s Mot. to

Dismiss Unknown Product Cases). Plaintiff now moves for relief from the judgment

entered on that date pursuant to Rule 60(b)(1) of the Federal Rules of Civil Procedure.

        Plaintiff claims she never received notice of the Cook Defendants' motion, and

that she provided the information to them relating to her device before the motion to

dismiss was filed. The problem here is this: even if what Plaintiff says is true, Plaintiff

still has not identified the specific product at issue. To date, the only product



1
  The Cook Defendants are Cook Incorporated, Cook Medical LLC f/k/a Cook Medical
Incorporated, and William Cook Europe ApS.
                                              1
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identification provided by Plaintiff is from a retained physician who notes only a "Cook

IVC filter." (See Filing No. 19417, Ex. A). As a result, Plaintiff's dismissal was proper.

Plaintiff's motion for relief from judgment (Filing No. 19417) is therefore DENIED.



SO ORDERED this 24th day of November 2021.



                                                 s/RLY




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